 

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA

WESTERN DIVISION

EILEEN JANIS and KIM COLHOFF, Civ. 09-5019

Plaintiffs,
Vv.
SETTLEMENT AGREEMENT

AND RELEASE IN FULL
OF ALL CLAIMS

CHRIS NELSON, in his individual
and official capacity as
Secretary of State of South
Dakota, and as a member of the
State Board of Elections; MATT
McCAULLEY, CINDY SCHULTZ,
CHRISTOPHER W. MADSEN, RICHARD
CASEY, KAREN M. LAYHER, and
LINDA LEA M. VIKEN, in their
individual and official
capacities as members of the
State Board of Flections; SUE
GANJE, in her individual and
official capacity as Auditor
for Shannon County,

Defendants.

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SETTLEMENT AGREEMENT AND RELEASE IN FULL OF ALL CLAIMS
I. Introduction

es On March 10-11, 2010, the Parties entered into
mediation before the Honorable Magistrate Judge John &. Simko
and reached a Mediation Agreement as that term is defined in
Documents 134 and 135.

2. This Settlement Agreement is hereby entered into by
Plaintiffs and the State Defendants and is intended to settle

and resolve all claims and Covered Matters in the above-entitled

 

 

 
 

 

Action relative to Plaintiffs and State Defendants. This
Agreement has been negotiated by the Parties in good faith to
avoid the costs and risks of prolonged and complicated
litigation and to resolve their differences. In the respective
opinions of the Parties, this Agreement and the settlement
embodied herein is fair, reasonable, and in the public interest.
The Plaintiffs and the County Defendant have executed a
separate settlement agreement which has not been filed.

3. By entry into this Agreement, State Defendants do not
admit the truth or accuracy of any aliegations in the Action,
and do not admit any liability to any Plaintiff or any third
party for or as a result of the acts, actions, or conduct
alleged in the Action, or that may be related to or arise out of
the allegations contained therein.

II. Definitions

4, Unless otherwise expressly provided for herein, the
terms used in this Agreement shall have the meaning provided
below:

A. "Agreement" snall mean this Settlement Agreement
and Release in Full of Ali Claims.
B. "Action" shall mean the action entitled Janis,

et. al. v. Nelson, et. al., in the United States District Court,

 

District of South Dakota, Western Division, Civil No. 09-5019.

 
 

C. "Covered Matters" shall mean all claims brought

in the Action, and all claims that the Plaintiffs have or could
have made arising from or out of the facts alleged in the
Action.

D. "Date of Entry” or "Entry" Shall be the date on
which this Agreement is signed by the last Party executing the
Agreement,

E. “Plaintiffs” shall mean Eileen Janis and Kim
Colhoff.

Fie "State Defendants" shall mean Chris Nelson, in
his individual and official capacity as Secretary of State of
South Dakota, and as a member of the State Board of Elections,
and Matt McCaulley, Cindy Schultz, Christopher W. Madsen,
Richard Casey, Karen M. Layher, and Linda Lea M. Viken, in their
individual and official capacities as members of the State Board
of Elections.

G. "County Defendant" shall mean Sue Ganje, in her
individual and official capacity as Auditor of Shannon County.
Defendant La Fawn Conroy has already been dismissed with
prejudice from this Action by stipulation of the parties.

H. "Parties" shall mean the Plaintiffs and State

Defendants.

IIIf. Release

 
 

Bie Release. In consideration of State Defendants’
agreement to undertake the actions described in this Agreement,
Plaintiffs release and discharge State Defendants from all
claims, demands, actions and causes of action arising from, out
of, or related to the allegations in the Action, Covered
Matters, and all other claims, demands, actions and/or causes of
action, whether now known or arising in the future, related to
or arising from the factual allegations made in the Action.
Plaintiffs also release State Defendants from the class action
lawsuit they initiated as part of this action.

IV. Settlement

6. Each Party to this Agreement shall bear its own costs
and attorney’s fees, except as specifically provided herein.

Te The State Defendants, in their official capacity,
shall pay twenty-five thousand dollars ($25,000) in attorney’s
fees and costs to Plaintiffs’ attorneys.

8. State Defendants shall not retaliate in any way
against Plaintiffs as a result of the filing of this Action.

9 The Parties have agreed upon the impact of state and
federal felony convictions on voting rights under state law as
it exists on the Date of Entry. This agreement is documented in
the attached Exhibit A.

10. The agreement referenced in Paragraph 9 is subject to

modification by changes in state law, or an interpretation of
 

 

state law by a court of competent jurisdiction, which conflicts
with any part of Exhibit A.

11. Within 45 days of the Date of Entry, Secretary of
State Chris Nelson will advocate that the South Dakota Board of
Elections, hereinafter “Board,” vote to make changes to the
following Administrative Rules of South Dakota:

a. A.R.S.D. 5:02:65:02, as documented in the attached
Exhibit B at page 2.

b. A.B.S.D. 95:02:05:02.01, as documented in the attached
Exhibit C at page 2.

12. Within 30 days of the Date of Entry, Secretary of
State Nelson will advocate that the Board vote to adopt a new
administrative rule, as documented in the attached Exhibit D.

13. The proposals referenced in Paragraphs 11 and 12 must
go through the rulemaking process required in SDCL Chapter 1-26
before they are adopted as South Dakota Administrative Rules.
This process includes but is not limited to a public hearing and
comment period, approval for legality and form and style by the
South Dakota Legislative Research Council, and final approval by
the South Dakota Legislature’s rules review committee. Although
Secretary of State Nelson will advocate strongly on behalf of
the rule changes referenced in Paragraphs 11 and 12, the
Secretary of State cannot control whether the changes as

proposed above will be accepted or modified by the Board.
 

Neither the Secretary of State nor the Board controls whether
the proposals referenced in Paragraphs 11 and 12 will be
rejected or modified by the Legislative Research Council or the
Legislature's rules review committee.

14. Within 20 days of the Date of Entry, Secretary of
State Nelson will send the letter attached as Exhibit E to all
county auditors in the State of South Dakota at their last known
address.

15. Within 20 days of the Date of Entry, the Secretary of
State's Office will post the information in Exhibits A and F on
the Secretary of State's website.

16. Exhibits B, C, D, and F are subject to modification by
changes in state law, or an interpretation of state law by a
court of competent jurisdiction, which conflicts with any part
of these exhibits.

i7?. Within 20 days of the Date of Entry, the Secretary of
State’s Office will make the changes to the South Dakota Polling
Place Voter Key documented on Exhibit G and Exhibit H, page i,
number 21.

18. Secretary of State Nelson will recommend and advocate
to the Board that it propose an amendment of SDCL 12-18-10 to
the 2011 Legislature. The proposed amendment is documented in

the attached Exhibit I. Neither the Secretary of State nor the

 

 
 

 

 

Board have control over whether the South Dakota Legislature

chooses to make such amendment.

19. Secretary of State Nelson will make training available
to state auditors regarding which felons are disqualified from
voting. The training will occur in May of 2010. Secretary of
State Nelson will then recommend that his successor incorporate
this training into the biennial training session scheduled prior
to each election year, which is next scheduled for November or
December of 2011.

20. Secretary of State Nelson will make training available
to county auditors for purposes of training poll workers in
their county regarding felony disqualification. Secretary of
State Nelson will then recommend that his successor continue
this training. However, county auditors, not the State
Defendants, are responsible for training poll workers.

21. Beginning on the Date of Entry, for the period of time
required by its normal document retention policy established by
the South Dakota Bureau of Administration, the Secretary of
State’s Office will retain an electronic copy of the weekly e-
mails sent to state auditors through the Electronic Voter
Registration System (EVRS) regarding state felony
disqualifications.

22. Beginning on the Date of Entry, for the period of time

required by its normal decument retention policy established by

 

 
the South Dakota Bureau of Administration, but in no event less
than two years, the Secretary of State’s Office wiil retain an
electronic copy of the Notice of Convicted Felons received from
Lhe D.S. Attorney’s Office pursuant te the National Voter
Registration Act of 1993, 42 U.S.C. § 1773gg-6.

23. Within 20 days cf Date of Entry, Secretary of State
Chris Nelson wiil provide to Plaintiffs’ counsel the following
documents: (1) the software source code for the algorithm used
by the FVRS to conduct matches between the statewide voter
registration database and disqualifying felonies in the South
Dakota Unified Judicial System database; (2) the system design
decument (in the mest current form available at the Date of
Entry) and any emails, memoranda, or other documents not already
produced in the above captioned matter that reflect any changes
to the system design; and (3) to the extent available, the data
dictionaries or other explanations of database variables
regarding potential exclusions for felony convictions for the
statewide voter registration database and the South Dakota
Unified Judicial System database. The South Dakota Unified
Judicial System database includes state felony information only.

24. Plaintiffs’ counsel will review the information
provided pursuant to Paragraph 23. Secretary of State Nelson
will encourage persons from the South Dakota Bureau of

Telecommunications and South Dakota Unified Judicial System,

 
 

with knowledge of how the algorithm operates, to answer
questions from Plaintiffs’ counsel. However, the Secretary of
State has no authority to require or force such persons to
cooperate with Plaintiffs’ counsel.

25. Neither the State Defendants nor the State of South
Dakota will pay Plaintiffs’ attorney’s fees or costs of any
person to review the information provided pursuant to Paragraph
23, including the costs of state employees outside the
employment of the Secretary of State’s Office.

26. If Plaintiffs’ counsel conclude that any felonies
produced by the matching algorithm do not meet the criteria for
disqualifying state felonies agreed upon by the Parties in the
attached Exhibit A, then Plaintiffs’ counsel will suggest
changes to the algorithm to Secretary of State Nelson.

Secretary of State Nelson will determine whether, and in what
manner, changes are necessary for the matching algorithm to meet
the criteria for disqualifying state felonies agreed upon by the
Parties in the attached Exhibit A.

27. The County Defendant and the Board shall not be made a
party to any dispute described in Paragraph 26 above.

28. After the review process described above, and provided
Plaintiffs" counsel concludes that any feionies produced by the
matching algorithm meet the criteria for disqualifying state

felonies agreed upon by the Parties in the attached Exhibit A,

 

 

 
 

 

 

Plaintiffs’ counsel will submit a letter in support of
preclearance of the software source code for the algorithm to
the Secretary of State’s Office and United States Department of
Justice.

29. Secretary of State Nelson will submit, along with
Plaintiffs’ letter of support, the software source code for the
algorithm for preclearance to the United States Department of
Justice on behalf of Todd County and Shannon County only. If
the review process described above extends beyond Chris Nelson’s
term as Secretary of State, then the Secretary of State’s Office
shall not be responsible for supmitting the algorithm for
preclearance on behalf of Todd County, Shannon County or any

other county.

30. Plaintiffs will not object to Todd County or Shannon
County’s use of the information generated from the algorithm
through the EVRS for purposes of removing persons with
disqualifying state felonies from the statewide voter
registration list prior to algorithm’s preclearance.

31. Secretary of State Nelson agrees to submit for
preclearance, on behalf of Todd County and Shannon County only,
any changes made to the algorithm. If any changes to the
algorithm occur after Chris Nelson’s term as Secretary of State,

the Secretary of State’s Office is not bound by this Agreement

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to submit the changes to the algorithm for preclearance on
behalf of Todd County, Shannon County, or any other county.

32. Indemnification - Plaintiffs agree to hold harmless
and indemnify State Defendants from any and all claims against
Defendants for loss, injury or damage resulting from, related
to, or arising from the factual allegations made in this Action.

33. Except as stated herein, this Agreement shall be
binding on any heirs, successors and assigns. Parties sued in
their official capacity will notify their successors in office
of the existence of this Agreement and provide a copy thereof.

34. Dismissal of Action. Upon Date of Entry, the Parties

 

will submit a Stipulation of Dismissal pursuant to Federal Rule
of Civil Procedure 41(a)(1) which dismisses the pending Action
against the State Defendants with prejudice, including the
pending motion for class certificaticn.

35. Modification. The terms of this Agreement may be
modified only by a subsequent written agreement signed by the
Parties, and their respective heirs, representatives, executors,
administrators, successors and assigns.

36. Signatories. Each undersigned representative of the
Parties to this Agreement certifies that he or she is fully
authorized to enter into this Agreement and each of the terms
and conditions hereof, and to execute and legally bind such

Party to it. The Plaintiffs ana their counsel represent and

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Warrant that no other person or entity has or has had any
interest in the claims, demands, obligations, or causes of
action referred to in this action, and that they have the sole
and exclusive right to receive the sums specified in this
agreement.

37. Entire Agreement. This Agreement and exhibits shall
constitute the entire agreement between the Parties. This
Agreement supersedes any other written or oral agreements
between the Parties. If any term or provision of this Agreement
is determined to be illegal, unenforceable, or invalid in whole
or in part for any reason, such illegal, unenforceable or
invalid provisions shall be stricken from this Agreement, and
such provision shal] not affect the legality, enforceability, or
validity of the remainder of this Agreement.

38. The United States District Court for the District of
South Dakota shall retain jurisdiction to resolve issues
regarding enforcement of this Agreement. The costs and attorney
fees as provided above are capped for the purpose of settling
this action. However, if a dispute arises regarding the
enforcement of this Agreement, the Parties reserve their rights
to request attorney’s fees if determined to be the prevailing

party.

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39. Effective Date. This Agreement shall be effective
upon the Date of Entry, which is the day on which the last

signing Party executes this Agreement.

Dated this 24h, day of MYlag , 2010.

Chris Nelson, in his official
capacity as Secretary of State and
Chairman of the State Board of
Elections

APPROVED BY:

    

 

ichard M. Williams Bobbi J. Rank
Assistant Attorney General Assistant Attorney General
Counsel for State Defendants Counsel for State Defendants

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Dated this day of __» 2010.

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____ Patrick-K. Ditty,
Patrick K. Duffy, LLC
Counsel for Plaintiffs

Dated this sq@ day of Ma, , 2010.

American Civil Liberties Union
Counsel for Plaintiffs

Dated this [gt day of Wing , 2010.

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American Civil Liberties Union
Counsel for Plaintiffs

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